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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

RUBY FREEMAN, et al.,

                  Plaintiffs,              Case No. 1:21-cv-03354 (BAH)

             v.                            Chief Judge Beryl A. Howell

RUDOLPH W. GIULIANI,

                  Defendant.




         INDEX OF EXHIBITS TO PLAINTIFFS’ MOTION TO COMPEL
    DISCOVERY, FOR ATTORNEYS’ FEES AND COSTS, AND FOR SANCTIONS


   Exhibit                                       Title


      1           Chart Summarizing Plaintiffs’ Requests for Production of Documents
                  to Defendant Rudolph W. Giuliani and Defendant’s Responses and
                  Objections

      2           August 5, 2022 Email from A. Houghton-Larsen to J. Sibley re: RE:
                  Freeman v. Giuliani – Discovery

      3           August 26, 2022 Email from J. Sibley to A. Houghton-Larsen re: Re:
                  Freeman – Discovery Deficiencies

      4           October 12, 2022 Email from J. Sibley to A. Houghton-Larsen re: Re:
                  Status of Giuliani Discovery

      5           December 27, 2022 Email from J. Sibley to A. Houghton-Larsen re:
                  Freeman v. Giuliani – December 21, 2022 M&C

      6           January 12, 2023 Email from A. Houghton-Larsen to J. Sibley re:
                  Freeman v. Giuliani – January 9, 2023 Meet and Confer
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7          Excerpts from the Deposition Transcript of Rudolph W. Giuliani

8          March 3, 2023 Email from A. Houghton-Larsen to J. Sibley re:
           Freeman v. Giuliani – Post-Deposition Discovery Issues

9          Defendant’s Amended Rule 26(a)(1) Initial Disclosures dated March
           24, 2023

10         March 24, 2023 Email from J. Sibley to M. Governski re: RE: Freeman
           v. Giuliani – Fifth Set of Interrogatories, Third Set of RFAs

11         March 30, 2023 Email from J. Sibley to J. Langford re: Re: Records
           from Giuliani Communications, LLC & Giuliani Partners LLC (with
           Attachments)

12         April 4, 2023 Deficiency Letter

13         Defendant’s Second Amended Rule 26(a)(1) Initial Disclosures dated
           April 7, 2023




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